     Case 2:13-cv-00990-MMD-GWF Document 1 Filed 06/04/13 Page 1 of 6




 1   Michael J. McCue (NV Bar No. 6055)
     mmccue@lrlaw.com
 2   Jonathan W. Fountain (NV Bar No. 10351)
     jfountain@lrlaw.com
 3   LEWIS AND ROCA LLP
     3993 Howard Hughes Parkway, Suite 600
 4   Las Vegas, Nevada 89169
     (702) 949-8200 (phone)
 5   (702) 949-8398 (facsimile)
 6   Of Counsel:
 7   Adam K. Mortara (pro hac vice application to be filed)
     adam.mortara@bartlit-beck.com
 8   Katherine G. Minarik (pro hac vice application to be filed)
     katherine.minarik@bartlit-beck.com
 9   Asha L.I. Spencer (pro hac vice application to be filed)
     asha.spencer@bartlit-beck.com
10   BARTLIT BECK HERMAN PALENCHAR & SCOTT LLP
     54 West Hubbard Street
11   Chicago, Illinois 60654
     (312) 494-4400 (phone)
12   (312) 494-4440 (facsimile)
13   Attorneys for Plaintiffs Merck & Cie, Bayer Pharma AG
     and Bayer HealthCare Pharmaceuticals Inc.
14
15
16                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
17
18   MERCK & CIE, BAYER PHARMA AG, and                   Case No. 2:13-cv-00990
     BAYER HEALTHCARE
19   PHARMACEUTICALS INC.,                               COMPLAINT FOR PATENT
                                                         INFRINGEMENT
20                          Plaintiffs,
                                                         (JURY DEMAND)
21
            vs.
22
     WATSON LABORATORIES, INC., and
23   ACTAVIS, INC.,

24                          Defendants.
25
26          Plaintiffs Merck & Cie, Bayer Pharma AG and Bayer HealthCare Pharmaceuticals Inc., for

27   their Complaint for patent infringement herein against Defendants Watson Laboratories, Inc. and

28   Actavis, Inc., allege as follows:
                                                   -1-
     Case 2:13-cv-00990-MMD-GWF Document 1 Filed 06/04/13 Page 2 of 6




 1                                               PARTIES

 2          1.      Plaintiff Merck & Cie (“Merck”) is a Swiss corporation having a principal place of

 3   business at Weisshausmatte 6460 Altdorf, Switzerland.

 4          2.      Plaintiff Bayer Pharma AG (“Bayer Pharma”), formerly known as Schering AG, is

 5   a corporation organized and existing under the laws of the Federal Republic of Germany, having a

 6   principal place of business at Müllerstrasse 178, 13353 Berlin, Germany.

 7          3.      Plaintiff Bayer HealthCare Pharmaceuticals Inc. (“Bayer HealthCare”), formerly

 8   known as Berlex, Inc., is a corporation organized and existing under the laws of the State of

 9   Delaware, having a principal place of business at 340 Changebridge Road, P.O. Box 1000,

10   Montville, New Jersey 07045-1000.

11          4.      On information and belief, Defendant Actavis, Inc. (“Actavis”) is a corporation

12   organized and existing under the laws of the State of Nevada, having a principal place of business

13   at 311 Bonnie Circle, Corona, California 92880. Defendant Actavis develops, manufactures, and

14   markets generic pharmaceutical products through its operating subsidiary Defendant Watson

15   Laboratories, Inc.

16          5.      On information and belief, Defendant Watson Laboratories, Inc. (“Watson Labs.”)

17   is a corporation organized and existing under the laws of the State of Nevada, having a principal

18   place of business at 311 Bonnie Circle, Corona, California 92880.

19          6.      On information and belief, Defendant Watson Labs. is a wholly-owned subsidiary

20   of Defendant Actavis, and the two have common officers and directors.

21          7.      On information and belief, Defendant Actavis directed, authorized, participated in,

22   assisted and cooperated with Defendant Watson Labs. in all of the acts complained of herein.

23   Hereinafter, Defendants Actavis and Watson Labs. are collectively referred to as “Watson.”

24                                 JURISDICTION AND VENUE

25          8.      This action arises under the patent laws of the United States of America. This

26   Court has jurisdiction over the subject matter of this action under 28 U.S.C. §§ 1331 and 1338(a).

27          9.      This Court has personal jurisdiction over Defendants Actavis and Watson Labs. by

28   virtue of, inter alia, the fact that they regularly transact and solicit business in Nevada, have
                                                     -2-
     Case 2:13-cv-00990-MMD-GWF Document 1 Filed 06/04/13 Page 3 of 6




 1   consented to jurisdiction in Nevada in cases arising out of the filing of their ANDAs, and have

 2   purposefully availed themselves of this forum such that they should reasonably anticipate being

 3   haled into Court here.

 4          10.     On information and belief, Actavis has consolidated its activities and financial

 5   results in its most recent SEC filings and Annual Report with, among other entities, Watson Labs.

 6          11.     On information and belief, Actavis and Watson Labs. earn revenue from the

 7   distribution in Nevada of generic pharmaceutical products that are manufactured by Watson Labs.

 8   On information and belief, various products for which Watson Labs. is the named applicant on

 9   approved ANDAs are available at retail pharmacies in Nevada and elsewhere through a link

10   provided on Actavis’ website.

11          12.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b) and (c), and §

12   1400(b).

13                                          BACKGROUND

14          13.     Bayer HealthCare is the holder of approved New Drug Application (“NDA”) No.

15   022574, for Safyral®, which contains as active ingredients drospirenone, 17α-ethinyl estradiol,

16   and levomefolate calcium. Safyral® tablets have been approved by the United States Food and

17   Drug Administration (“FDA”) to prevent pregnancy in women who elect to use an oral

18   contraceptive, and to provide a daily dose of folate supplementation. Safyral® tablets are sold in

19   the United States by Bayer HealthCare as a 28-day oral contraceptive regimen that contains 21

20   tablets comprising 3 mg of micronized drospirenone, 0.03 mg of micronized 17α-ethinylestradiol,

21   and 0.451 mg levomefolate calcium plus 7 tablets comprising 0.451 mg levomefolate calcium.

22          14.     On information and belief, Watson submitted to the FDA Abbreviated New Drug

23   Application (“ANDA”) No. 203594 under the provisions of 21 U.S.C. § 355(j), seeking approval

24   to engage in the commercial manufacture, use, offer for sale, sale and/or importation of a generic

25   version of Bayer HealthCare’s Safyral® tablets.

26          15.     On information and belief, the composition of the product that is the subject of

27   Watson’s ANDA is for oral contraception in a human female and contains tablets comprising 3 mg

28   of drospirenone, 0.03 mg of 17α-ethinylestradiol, and 0.451 mg levomefolate calcium, and tablets
                                                    -3-
     Case 2:13-cv-00990-MMD-GWF Document 1 Filed 06/04/13 Page 4 of 6




 1   comprising 0.451 mg levomefolate calcium.

 2             16.   On information and belief, Watson’s ANDA seeks approval of a 28-day oral

 3   contraceptive regimen that contains 21 tablets comprising 3 mg of drospirenone, 0.03 mg of 17α-

 4   ethinylestradiol, and 0.451 mg levomefolate calcium, and 7 tablets comprising 0.451 mg

 5   levomefolate calcium (hereinafter “Watson’s ANDA product”).

 6             17.   On information and belief, on or about April 22, 2013, Watson sent a Notice Letter

 7   to Plaintiffs Merck, Bayer Pharma, and Bayer HealthCare, purporting to comply with the

 8   provisions of 21 U.S.C. § 355(j)(2)(B) and the FDA regulations relating thereto.

 9             18.   The patent-in-suit is U.S. Patent No. 6,441,168 (the “’168 Patent”) (attached hereto

10   as Exhibit 1). Inventors Rudolf Müller, Rudolf Moser, and Thomas Egger filed their application

11   for this patent on April 17, 2000. The ’168 Patent was issued August 27, 2002. Merck & Cie is

12   the current owner of the ’168 Patent.

13             19.   Bayer Pharma is the exclusive licensee of the ’168 Patent for the sectors of

14   gynecology and andrology, for the indications fertility control, hormone therapy, and hormone

15   replacement therapy (with the exception of oncological indications). Bayer Pharma is also the

16   exclusive licensee of the ’168 Patent for the indications listed above as a primary indication in

17   combination with secondary indications within the same product.

18             20.   Bayer HealthCare markets Safyral® in the United States under Bayer Pharma’s

19   exclusive license.

20                   COUNT ONE: CLAIM FOR PATENT INFRINGEMENT OF
                           UNITED STATES PATENT NO. 6,441,168
21
22             21.   Plaintiffs incorporate all preceding paragraphs of this Complaint as if fully set forth

23   herein.

24             22.   On information and belief, Watson’s ANDA product infringes one or more claims

25   of the ’168 Patent.

26             23.   The ’168 Patent covers Bayer HealthCare’s Safyral® tablets and has been listed for

27   the product in the FDA Approved Drug Products with Therapeutic Equivalence Evaluations (“the

28   Orange Book”).
                                                       -4-
     Case 2:13-cv-00990-MMD-GWF Document 1 Filed 06/04/13 Page 5 of 6




 1          24.     On information and belief, Watson submitted its ANDA to the FDA for the purpose

 2   of obtaining approval to engage in the commercial manufacture, use, offer for sale, sale and/or

 3   importation of Watson’s ANDA product before the expiration of the ’168 Patent.

 4          25.     On information and belief, Watson made and included in its ANDA a certification

 5   under 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that, in its opinion, the ’168 Patent is invalid,

 6   unenforceable, or will not be infringed by the manufacture, use, offer for sale, sale and/or

 7   importation of Watson’s ANDA product.

 8          26.     By filing its ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining approval

 9   to engage in the commercial manufacture, use, offer for sale, sale and/or importation of Watson’s

10   ANDA product before the expiration of the ’168 Patent, Watson has committed an act of

11   infringement under 35 U.S.C. § 271(e)(2). Further, on information and belief, the commercial

12   manufacture, use, offer for sale, sale and/or importation of Watson’s ANDA product will also

13   infringe one or more claims of the ’168 Patent.

14          27.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271e(4), including an

15   Order of this Court that the effective date of any approval relating to Watson’s ANDA shall be a

16   date which is not earlier than April 17, 2020, the current expiration date of the ’168 Patent, or any

17   later date of exclusivity to which Plaintiffs become entitled.

18          28.     On information and belief, when Watson filed its ANDA, it was aware of the ’168

19   Patent and was aware that the filing of its ANDA with the request for its approval prior to the

20   expiration of the ’168 Patent constituted an act of infringement of the ’168 Patent.

21          29.     This case is an exceptional one, and Plaintiffs are entitled to an award of their

22   reasonable attorney fees under 35 U.S.C. § 285.

23                                       PRAYER FOR RELIEF

24                  WHEREFORE, Plaintiffs respectfully request the following relief:

25          A.      Judgment that Watson has infringed one or more claims of the ’168 Patent by filing

26   its ANDA relating to Watson’s ANDA product containing drospirenone, ethinylestradiol, and

27   levomefolate calcium;

28          B.      A permanent injunction restraining and enjoining Watson and its officers, agents,
                                                   -5-
     Case 2:13-cv-00990-MMD-GWF Document 1 Filed 06/04/13 Page 6 of 6




 1   attorneys and employees, and those acting in privity or concert with it, from engaging in the

 2   commercial manufacture, use, offer to sell, or sale within the United States, or importation into the

 3   United States, of Watson’s ANDA product;

 4          C.      An order that the effective date of any approval of Watson’s ANDA relating to

 5   Watson’s ANDA product containing drospirenone, ethinylestradiol, and levomefolate calcium, be

 6   a date which is not earlier than the expiration date of the ’168 Patent or any later date of

 7   exclusivity to which Plaintiffs become entitled;

 8          D.      Damages from Watson for any commercial activity constituting infringement of the

 9   ’168 Patent; and

10          E.      Such other and further relief as the Court may deem just and proper.

11                                           JURY DEMAND

12          Plaintiffs hereby demand a jury trial on all issues so triable.

13          Dated: this 4th day of June 2013.

14                                 LEWIS AND ROCA LLP

15                                 By: /s/ Jonathan W. Fountain
                                   Michael J. McCue (NV Bar No. 6055)
16                                 Jonathan W. Fountain (NV Bar No. 10351)
                                   3993 Howard Hughes Parkway, Suite 600
17                                 Las Vegas, Nevada 89169
18                                 Of Counsel:
19                                 BARTLIT BECK HERMAN PALENCHAR & SCOTT LLP
                                   Adam K. Mortara (pro hac vice application to be filed)
20                                 Katherine G. Minarik (pro hac vice application to be filed)
                                   Asha L.I. Spencer (pro hac vice application to be filed)
21                                 54 West Hubbard Street
                                   Chicago, Illinois 60654
22
                                   Attorneys for Plaintiffs Merck & Cie, Bayer Pharma AG,
23                                 and Bayer HealthCare Pharmaceuticals Inc.
24
25
26
27
28
                                                        -6-
